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 10                         UNITED STATES DISTRICT COURT
 11
             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 12
      JEFFREY WILENS, on behalf of     ) Case No. SACV 15-1139 JVS (ASx)
 13
      himself and all persons similarly) Consolidated with SACV 15-916 JVS
 14   situated,                        ) Hon. James V. Selna
                                       )
 15
                  Plaintiffs,          ) CLASS ACTION
 16         vs.                        )
                                       ) ORDER DISMISSING THE
 17
      HEART SAVERS, LLC and DOES 1 ) INDIVIDUAL CLAIMS OF
 18   through 100 inclusive,           ) PLAINTIFF JEFFREY WILENS
                                       ) WITH PREJUDICE AND CLASS
 19
                  Defendants           ) CLAIMS WITHOUT PREJUDICE
 20   ________________________________ )
 21

 22
            The Plaintiff having presented an Application for Dismissal of the individual
 23
      claims of Plaintiff Jeffrey Wilens with prejudice and the dismissal of the class claims
 24
      without prejudice, and Notice of the Individual Settlement having been provided as
 25
      set forth in Docket No. 32 at 6-7 and good cause being found, IT IS HEREBY
 26
      ORDERED
 27
            THAT:
 28
                                                -1-
                               ORDER DISMISSING ACTION
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 1         1) The individual claims of Jeffrey Wilens are dismissed with prejudice;
 2         2) The class claims are dismissed without prejudice.
 3

 4         IT IS SO ORDERED
 5
           Dated: March 15, 2018
 6                                        _________________________________
 7                                        Honorable James V. Selna
                                          United States District Judge
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                                             -2-
                             ORDER DISMISSING ACTION
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